       Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 1 of 25



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                   Plaintiff,

 v.                                   Crim. Action No. 19-216 (EGS)
 EGHBAL SAFFARINIA (a/k/a
 “EDDIE SAFFARINIA”),

                   Defendant.


                           MEMORANDUM OPINION

      Defendant Eghbal Saffarinia (“Mr. Saffarinia”), a former

Assistant Inspector General for the United States Department of

Housing and Urban Development’s Office of Inspector General

(“HUD-OIG”), faces criminal charges arising from alleged

falsifications and omissions in his annual public financial

disclosure reports pursuant to the Ethics in Government Act of

1978, 5 U.S.C. App. 4 §§ 101-11. Mr. Saffarinia has been charged

in a seven-count indictment for engaging in a scheme to conceal

material facts, making false statements, and falsifying records.

Following the government’s production of approximately 3.5

million pages with detailed production logs, Mr. Saffarinia

moves for a bill of particulars. Upon careful consideration of

the motion, the response, the reply thereto, the applicable law,

and for the reasons explained below, the Court DENIES

Defendant’s Motion for Bill of Particulars.
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 2 of 25



I.   Background

     The following allegations, which Mr. Saffarinia accepts as

true for this motion and intends to disprove at trial, are drawn

from the indictment. See Def.’s Mem. of Law in Supp. of Def.’s

Mot. for Bill of Particulars (“Def.’s Mem.”), ECF No. 14-1 at 3

n.1. 1 Between 2012 and 2017, Mr. Saffarinia served as the

Assistant Inspector General for Information Technology in HUD-

OIG, and then as the Assistant Inspector General for Management

and Technology. Indictment, ECF No. 1 at 2 ¶ 3. Mr. Saffarinia

oversaw HUD-OIG’s Office of Management and Technology, which was

reorganized as HUD-OIG’s Office of Information Technology

(“IT”). Id. As a member of the Senior Executive Service (“SES”),

Mr. Saffarinia had a “legal duty” to annually submit public

financial disclosure reports pursuant to the Ethics in

Government Act. 2 Id. at 2 ¶ 4. Such disclosures were filed using


1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.
2 The Ethics in Government Act “requires government officials,
including Members of Congress, to file annual disclosure
statements detailing, with certain exceptions, their income,
gifts, assets, financial liabilities and securities and
commercial real estate transactions.” United States v. Oakar,
111 F.3d 146, 148 (D.C. Cir. 1997) (citing 5 U.S.C. App. 4 §
102; United States v. Rose, 28 F.3d 181, 183 (D.C. Cir. 1994)).
The Act created the Office of Government Ethics (“OGE”) as a
separate office within the Executive Branch. 5 U.S.C. App. 4 §
401(a). OGE provides “overall direction of executive branch
policies related to preventing conflicts of interest on the part
of officers and employees of any executive agency[.]” Id. §
402(a).
                                    2
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 3 of 25



the Office of Government Ethics Form 278 (“OGE Form 278”). Id.

     Mr. Saffarinia also served as HUD-OIG’s Head of Contracting

Activity, overseeing “procurement review and approval processes,

including IT contracts[.]” Id. at 2 ¶ 5. He was given “access to

contractor proposal information and source selection

information[.]” Id. In that position, Mr. Saffarinia had a

“legal duty under governing regulations,” requiring him to take

the following actions:

          [1] to disclose actual and potential conflicts
          of interest and [2] to not solicit and accept
          anything of monetary value, including loans,
          from anyone who (a) has or is seeking to obtain
          government business from HUD-OIG, (b) conducts
          activities that are regulated by HUD-OIG, and
          (c) has interests that may be substantially
          affected by the performance or nonperformance
          of [his] official duties.

Id. at 2-3 ¶ 5.

     Mr. Saffarinia, however, did not disclose the nature of his

relationship with Person A. Id. at 3-4 ¶ 11-12. Neither did Mr.

Saffarinia disclose his loans and payments in excess of $10,000

from Person A and his neighbor. Id. 17 ¶ 75. Mr. Saffarinia,

Person A, and Person B were friends from college who emigrated

to the United States from the same country. Id. at 3 ¶ 9. From

2012 to 2016, Mr. Saffarinia concealed his financial

relationship with Person A, who was the owner of an IT company

that contracted with HUD-OIG (“Company A”). See id. at 3 ¶ 6; 3-

4 ¶¶ 11-12. Mr. Saffarinia “steer[ed] government business and

                                    3
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 4 of 25



disclos[ed] confidential government information” to Person A and

Company A. Id. at 4 ¶ 12. Mr. Saffarinia omitted an $80,000

promissory note that he owed to Person A in his OGE Forms 278,

failing to report all liabilities in excess of $10,000 in those

forms. See id. at 2 ¶ 4; 4 ¶ 12.

     In 2012, Mr. Saffarinia caused Company B to enter into a

business partnership with Person A and Company A, and Company A

eventually served as one of Company B’s subcontractors on a

multi-year, $30 million IT services contract for HUD-OIG. Id. at

6 ¶ 18. HUD-OIG approved additional funding in the amount of

$78,000 for Company A’s subcontract with Company B in 2013. Id.

at 10 ¶ 42. Between 2012 to 2015, Company A received more than

one million dollars as Company B’s subcontractor. Id. at 9 ¶ 36.

Mr. Saffarinia gave competitive advantages to Person A and

Company A for a certain government contract between 2013 and

2014. Id. at 14 ¶ 61.

     Mr. Saffarinia hired his friend and former business

partner, Person B, as the head of HUD-OIG’s new predictive

analytics department. Id. at 3 ¶¶ 7, 9. At Mr. Saffarinia’s

direction, Person B became the sole member of a technical

evaluation panel for a government contract. Id. at 16 ¶ 72. For

that contract, Person B rejected thirteen bid proposals, and

HUD-OIG awarded it to Person A and Company A. Id.

     From 2013 to 2014, Mr. Saffarinia caused HUD-OIG to

                                    4
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 5 of 25



recompete Company B’s IT service contract, and he caused Company

C to enter into a business partnership with Company A in order

for both companies to submit a joint bid for the recompete

contract. Id. at 11 ¶ 47. Mr. Saffarinia directed his

subordinate to meet with Person A and the owner of Company C for

the formation of the partnership and the submission of the joint

bid. Id. at 12 ¶ 50. HUD-OIG awarded the recompete contract,

which was worth more than $17 million, to Company C. Id. at 11 ¶

47. Company A became a subcontractor for Company C, and Company

A was expected to receive roughly nine million dollars. Id.

     On June 25, 2019, a federal grand jury returned a 19-page,

78-paragraph, seven-count indictment charging Mr. Saffarinia

with concealing material facts, in violation of 18 U.S.C. §§

1001(a)(1) and 2 (“Count I”); making false statements, in

violation of 18 U.S.C. §§ 1001(a)(2) and 2 (“Counts II-IV”); and

falsifying records, in violation of 18 U.S.C. §§ 1519 and 2

(“Counts V-VII”). Id. 3-18 ¶¶ 10-78. Count I asserts that Mr.

Saffarinia “did knowingly and willfully falsify, conceal, and

cover up by trick, scheme, and device material facts . . . by

violating his legal duty to disclose a financial relationship

with Person A, including on his annual OGE Forms 278.” Id. at 4

¶ 11. Listing Mr. Saffarinia’s 2014, 2015, and 2016 publicly-

filed OGE Forms 278, Counts II through IV assert that Mr.

Saffarinia “did willfully and knowingly make and caused to be

                                    5
        Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 6 of 25



made material false, fictitious, and fraudulent statements and

representations in a matter within the jurisdiction of the

executive branch of the Government of the United States, namely,

HUD and OGE[.]” Id. at 17 ¶ 76. Finally, Counts V through VII

list the same three separate OGE forms, alleging that Mr.

Saffarinia “knowingly concealed, covered up, falsified, and made

false entries in a record, document, and tangible object” when

he caused those forms to be filed “with HUD and OGE.” Id. at 18

¶ 78.

     On June 28, 2019, this Court issued a Standing Order

requiring the government to produce any evidence in its

possession that is favorable to Mr. Saffarinia and material to

either his guilt or punishment. See generally Standing Order,

ECF No. 11 at 1 (citing Brady v. Maryland, 373 U.S. 83, 87

(1963); Giglio v. United States, 405 U.S. 150, 153-55 (1972)).

On the same day, the Court granted the parties’ consent motion

for a Protective Order governing discovery. See Min. Order of

June 28, 2019. As early as June 2019, the government produced

more than one million records to Mr. Saffarinia’s counsel. Gov’t

Opp’n, ECF No. 15 at 2. That production included, among other

things, virtually all of the investigative case file from the

Federal Bureau of Investigation (“FBI”), interview reports,

agent notes, and witnesses’ statements pursuant to the Jencks

Act, 18 U.S.C. § 3500. Id. at 2-3. The government’s production,

                                      6
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 7 of 25



while voluminous, was sent to defense counsel in an “organized

and navigable digital format (specifically, in an electronic,

‘load ready’ format), with bates-stamping and detailed discovery

production logs that include[d] all of the metadata for the

records.” Id. at 3. The government gave Mr. Saffarinia an

“explicit roadmap” during two reverse proffer sessions in

February 2018 and June 2019, 3 and the parties engaged in further

discussions and telephone conversations about the charges. Id.

at 11. Given its continuing discovery obligations, the

government has provided Mr. Saffarinia with nearly 3.5 million

pages of discovery. Def.’s Mem., ECF No. 14-1 at 10.

     Dissatisfied, Mr. Saffarinia filed a motion for bill of

particulars on July 5, 2019. See Def.’s Mot. for Bill of

Particulars (“Def.’s Mot.”), ECF No. 14 at 1. Mr. Saffarinia

seeks an order compelling the government to produce a bill of

particulars addressing three points: (1) the legal duties that

form the basis of the concealment of material facts charged

under 18 U.S.C. § 1001 with respect to Count I; (2) the

“governing regulations” that required Mr. Saffarinia to disclose




3 A “reverse proffer” has been described as a session with the
government where “the defendant remains silent” and “the
prosecutor explains how the government would convict the
defendant at trial and may choose to reveal more information
than required by the discovery rules.” Stephanos Bibas,
Incompetent Plea Bargaining & Extrajudicial Reforms, 126 Harv.
L. Rev. 150, 167 (2012).
                                    7
       Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 8 of 25



his conflicts of interest as to Count I; and (3) the

investigation or matter Mr. Saffarinia allegedly impeded,

impaired, or obstructed under 18 U.S.C. § 1519 with respect to

Counts V through VII. Id. The government filed its opposition

brief on July 7, 2019, see Gov’t Opp’n, ECF No. 15 at 1-13, and

Mr. Saffarinia filed his reply brief on July 11, 2019, see

Def.’s Reply, ECF No. 16 at 1-10. The motion is ripe and ready

for the Court’s adjudication.

II.   Legal Standard

      Federal Rule of Criminal Procedure 7(c) requires an

indictment to “be a plain, concise and definite written

statement of the essential facts constituting the offense

charged[.]” Fed. R. Crim. P. 7(c)(1); see also United States v.

Edmond, 924 F.2d 261, 269 (D.C. Cir. 1991) (“[T]he function of a

federal indictment is . . . not how the government plans to go

about proving [those essential facts].”). Under Rule 7(f), a

“court may direct the government to file a bill of particulars.”

Fed. R. Crim. P. 7(f). “A bill of particulars can be used to

ensure that the charges brought against a defendant are stated

with enough precision to allow the defendant to understand the

charges, to prepare a defense, and perhaps also to be protected

against retrial on the same charges.” United States v. Butler,

822 F.2d 1191, 1193 (D.C. Cir. 1987). “Yet if the indictment is

sufficiently specific, or if the requested information is

                                     8
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 9 of 25



available in some other form, then a bill of particulars is not

required.” Id.

     “The determination of whether a bill of particulars is

necessary ‘rests within the sound discretion of the trial court’

and will not be disturbed absent an abuse of that discretion.”

United States v. Mejia, 448 F.3d 436, 445 (D.C. Cir. 2006)

(quoting Butler, 822 F.2d at 1194). “[A] bill of particulars is

not a discovery tool or a device for allowing the defense to

preview the government’s evidence.” United States v. Brodie, 326

F. Supp. 2d 83, 91 (D.D.C. 2004); see also United States v.

Smith, 776 F.2d 1104, 1111 (3d Cir. 1985) (“A bill of

particulars, unlike discovery, is not intended to provide the

defendant with the fruits of the government’s investigation.”).

III. Analysis

     In moving for a bill of particulars, Mr. Saffarinia makes

four primary arguments. First, Mr. Saffarinia contends that a

bill of particulars is necessary for him to prepare his defense

and to prevent unfair surprises at trial. Def.’s Mem., ECF No.

14-1 at 6. Mr. Saffarinia’s next argument is that the

obstruction allegations in Counts V through VII are “threadbare”

and “multiplicitous” because the indictment fails to describe

the “investigation” or “matter” that he allegedly intended to

impede, influence, or obstruct. Id. at 7. Mr. Saffarinia points

out that he is left guessing “whether the ‘matter’ supporting

                                    9
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 10 of 25



the false statements charges differs from the ‘matter’

supporting the obstruction charges.” Id. at 8. Next, Mr.

Saffarinia argues that Count I of the indictment fails to

explain what “legal duty” triggered his alleged failure to

disclose information in violation of 18 U.S.C. § 1001(a)(1). Id.

at 9. Mr. Saffarinia’s fourth argument is that the “massive

discovery” in this case underscores the need for a bill of

particulars because he will be “left to spend months of valuable

trial preparation time sifting through millions of pages of

documents trying to figure out what, exactly, he stands accused

of.” Id. at 11.

     The government responds that the indictment supplies Mr.

Saffarinia with the essential facts and elements of the crimes

charged, and that Mr. Saffarinia’s motion “improperly seeks the

disclosure of the government’s legal theory and the specific

acts it will prove at trial in support thereof.” Gov’t Opp’n,

ECF No. 15 at 4. The government argues that “[t]he indictment’s

specificity, coupled with the substantial discovery already

provided (including an early production of Jencks material), is

more than sufficient to place [Mr. Saffarinia] in a position

where he understands the charges and can prepare a defense to

them.” Id. at 5. The government contends that the indictment

provides Mr. Saffarinia with notice of the matters and

investigations that he obstructed for the § 1519 charges because

                                   10
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 11 of 25



it names both HUD and OGE as the relevant agencies, it describes

the OGE forms that he allegedly falsified, and those allegations

are incorporated in Counts V through VII. Id. at 6. With respect

to the § 1001 charge, the government contends that the

indictment indicates that Mr. Saffarinia had a legal duty to

disclose his relationship with Person A because Mr. Saffarinia

was a high-ranking HUD-OIG official, the Head of Contracting

Activity, and an SES member. Id. at 7. The government’s next

argument is that Mr. Saffarinia’s motion is an attempt to “use a

bill of particulars as a discovery device and to preview the

government’s trial theories[.]” Id. at 9. Finally, the

government argues that Mr. Saffarinia’s requested information

“is available to [him] through the indictment itself, the

discovery provided by the government, and the information

previously furnished to [him] and his counsel[.]” Id. at 12.

     Before turning to the parties’ arguments as to Mr.

Saffarinia’s three requests, the Court first addresses the

substantial discovery in this case.

       A. The Government Has Produced Substantial Discovery

     It is undisputed that the discovery in this case is

voluminous. See, e.g., Def.’s Mem., ECF No. 14-1 at 10-11; Gov’t

Opp’n, ECF No. 15 at 2-3. The government has produced more than

one million records and 3.5 million pages to Mr. Saffarinia. See

Def.’s Mem., ECF No. 14-1 at 10; see also Gov’t Opp’n, ECF No.

                                   11
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 12 of 25



15 at 2. In the government’s view, Mr. Saffarinia “will [not] be

forced to find a proverbial needle in a haystack” because the

government has provided him with organized and detailed

discovery production logs, Bates-stamping, and digital

formatting. Gov’t Opp’n, ECF No. 15 at 2. The government further

provided Mr. Saffarinia with seven specific categories of

documents to assist defense counsel with the discovery review.

Id. at 2-3. 4 Mr. Saffarinia neither challenges the government’s

production nor disputes the government’s efforts to make defense

counsel’s discovery review manageable. See generally Def.’s

Reply, ECF No. 16.

     Notwithstanding the pre-indictment negotiations, voluminous

discovery, and subsequent discussions between the parties in

this case, the parties had two separate and lengthy reverse

proffer sessions, Mr. Saffarinia attended one of them, and the




4 The government has produced the following seven categories of
documents: (1) “Nearly all of the FBI’s investigative case file,
including interview reports, agent notes, and an early
production of Jencks material”; (2) “A voluminous amount of
material from HUD-OIG, including the e-mail accounts for the
defendant and Persons A and B for the relevant period”; (3) “The
subpoena returns (with supplements)”; (4) “The defendant’s tax
returns and financial records”; (5) “A portion of the
defendant’s administrative records (including ethics training
and financial disclosure forms and certifications)”;
(6) “Business and financial records for Person A and Company A,
and business records for two other vendors (referred to as
Companies B and C in the indictment)”; and (7) “HUD-OIG contract
information for the contracts at issue.” Gov’t Opp’n, ECF No. 15
at 2-3.
                                   12
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 13 of 25



government explained its theory of the case to Mr. Saffarinia’s

counsel in each session. See Gov’t Opp’n, ECF No. 15 at 3; see

also Def.’s Reply, ECF No. 16 at 8. It is uncontested that both

sessions and the negotiations covered the following information:

          [1] discussions of key interview reports and
          documents      (including     references     to
          exculpatory information); [2] an analysis of
          the interactions between [Mr. Saffarinia] and
          his associates (Persons A and B); [3] a
          discussion   of    [Mr.   Saffarinia’s]   legal
          obligations to disclose information on his
          public financial disclosure forms (OGE Forms
          278); and [4] a summary of the HUD-OIG
          procurement process and the contracts at
          issue.   Prior    to  [the]   indictment,   the
          government also disclosed its proposed charges
          pursuant to 18 U.S.C. § 1519 and, during that
          discussion with [defense] counsel, explained
          how the [Mr. Saffarinia’s] conduct impeded and
          impaired the proper administration of HUD-OIG
          and OGE.

Gov’t Opp’n, ECF No. 15 at 3. According to the government,

“[t]he elements of the crimes that the government anticipated

charging, and the accompanying jurisdictional and legal issues,

were matters of prolonged oral and written communications

between the parties.” Id. at 3 n.2. Although Mr. Saffarinia

takes issue with the government’s statements about the parties’

discussions, he argues that the parties’ disagreement is

“irrelevant.” Def.’s Reply, ECF No. 16 at 8. Without citing to

any authority, Mr. Saffarinia contends that “if the government

did communicate the particulars that Mr. Saffarinia seeks, it

will suffer no prejudice from repeating its prior disclosures

                                   13
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 14 of 25



here.” Id. at 9 (emphasis in original).

     Contrary to Mr. Saffarinia’s contention, the government

does not have an obligation to repeat its previous disclosures.

“A bill of particulars is meant to allow [Mr. Saffarinia] to

properly prepare for trial, not provide a method to force the

prosecution to connect every dot in its case.” United States v.

Han, 280 F. Supp. 3d 144, 149 (D.D.C. 2017) (citing Butler, 822

F.2d at 1193-94). While Mr. Saffarinia may request additional

information through a bill of particulars, see Fed. R. Crim. P.

7(f), he may not use it as a discovery mechanism, see United

States v. Ramirez, 54 F. Supp. 2d 25, 29 (D.D.C. 1999). As Judge

Huvelle observed in United States v. Brodie, “a bill of

particulars is not a discovery tool or a device” and the

government is not “required to prove how or when the [alleged

crime] was formed, the details of any meeting or when the

defendant [engaged in the alleged crime].” 326 F. Supp. 2d at

91. Furthermore, the United States Court of Appeals for the

District of Columbia Circuit (“D.C. Circuit”) has made clear

that a bill of particulars is unwarranted where, as here, “the

requested information is available in some other form.” Butler,

822 F.2d at 1193; see also United States v. Sanford Ltd., 841 F.

Supp. 2d 309, 316 (D.D.C. 2012) (finding that “no bill of

particulars [was] warranted [there] because the superseding

indictment and other information available to the defendants

                                   14
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 15 of 25



through discovery provide[d] sufficient detail regarding the

nature and the details of the offenses charged to afford the

defendants a full and fair opportunity to prepare for and avoid

surprise at trial”).

     In this case, Mr. Saffarinia’s request for additional

details about the charges in the indictment—details of which the

government has already provided to him—is improper. An

“indictment’s failure to detail the government’s case against

the defendants alone does not trigger a requirement for the

government to produce a bill of particulars so long as the

information requested by the defendants has been made available

in another form[.]” United States v. Mosquera-Murillo, 153 F.

Supp. 3d 130, 147–48 (D.D.C. 2015) (denying motion for bill of

particulars where there were reverse proffers and the government

provided voluminous discovery to defendants). 5 The government

argues—and the Court agrees—that the information Mr. Saffarinia

seeks is available in other forms through the discovery in this


5 Mr. Saffarinia attempts to distinguish Mosquera-Murillo from
this case, arguing that “the defendant in that case had moved
for the bill [of particulars] a year after the indictment and
after the government had provided ‘additional clarity as to
[the] government’s specific allegations.’” Def.’s Reply, ECF No.
16 at 7 n.2 (quoting Mosquera-Murillo, 153 F. Supp. 3d at 148).
Those facts, however, are of no consequence. In finding that
there was voluminous discovery, the court in Mosquera-Murillo
relied on the guiding principle in Butler that a bill of
particular is not required if the requested information is
available in another form. Mosquera-Murillo, 153 F. Supp. 3d at
148 (citing Butler, 822 F.2d at 1193-94).
                                   15
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 16 of 25



case. See Gov’t Opp’n, ECF No. 15 at 9. Given the substantial

discovery here, the Court therefore finds that Mr. Saffarinia is

not entitled to a bill of particulars to prepare his defense and

to avoid any surprises at trial. See Mejia, 448 F.3d at 446

(concluding that “if the defendants felt ambushed, it was not

because the government was lying in wait, but because the

defendants were not looking” at the pretrial witness statements

provided by the government).

       B. The Indictment and Discovery Provide Mr. Saffarinia
          With Notice of the Matters and Investigations at Issue

     Mr. Saffarinia’s argument—that the government fails to

identify the investigation or matter underlying the three

obstruction counts—is unavailing. See Def.’s Mem., ECF No. 14-1

at 7. With respect to Counts V through VII, “[t]he plain

language of 18 U.S.C. § 1519 criminalizes a defendant’s efforts

to obstruct ‘the investigation or proper administration of any

matter’ within the jurisdiction of [any department or agency of

the United States, including] the FBI, ‘or in relation to or

contemplation of any such matter.’” United States v. Moyer, 674

F.3d 192, 206 (3d Cir. 2012) (quoting 18 U.S.C. § 1519). “By the

plain terms of § 1519, knowledge of a pending federal

investigation or proceeding is not an element of the obstruction

crime.” United States v. Gray, 642 F.3d 371, 378 (2d Cir. 2011)

(emphasis added). And “[Section] 1519 does not require the


                                   16
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 17 of 25



existence or likelihood of a federal investigation.” Id. at 379.

     To support its position, the government relies on United

States v. Knight, No. 12-cr-0367, 2013 WL 3367259, at *4 (E.D.

Pa. July 3, 2013). See Gov’t Opp’n, ECF No. 15 at 6. Knight, a

decision left unaddressed by Mr. Saffarinia, is persuasive. See

Def.’s Reply, ECF No. 16 at 6-7. In that case, the defendants

sought additional information about their alleged obstructive

conduct under § 1519 beyond the allegations in the indictment.

Knight, 2013 WL 3367259, at *4 (emphasis added). The court found

that the indictment tracked the language of § 1519. Id. at *5.

The court explained that “the Government need not provide

specifics on how the obstructive conduct was intended to impede

the grand jury or any investigation.” Id. at *4. Because the

indictment set forth which documents the defendants had

allegedly falsified and fabricated, the court reasoned that the

defendants were not entitled to “information regarding

obstructive conduct beyond what [was] alleged in the

Indictment[.]” Id. The court found that “[r]eading the

Indictment as a whole, Defendants [could] reasonably infer how

their allegedly obstructive conduct impeded the grand jury or an

investigation into their activities.” Id.

     The same is true here. As the government correctly points

out, the indictment provides Mr. Saffarinia with notice of the

matters and investigations at issue, and it incorporates by

                                   17
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 18 of 25



reference the allegations that describe the OGE Forms 278 that

Mr. Saffarinia allegedly falsified when he submitted those forms

to the two agencies—HUD and OGE. See Gov’t Opp’n, ECF No. 15 at

6. Counts V through VII explicitly set forth the alleged false

statements and a description of each statement in Mr.

Saffarinia’s OGE Forms 278 that were submitted on May 12, 2014,

May 16, 2015, and April 26, 2016, respectively. See Indictment,

ECF No. 1 at 18 ¶ 78. Furthermore, the government provided Mr.

Saffarinia with “[n]early all of the FBI’s investigative case

file, including interview reports, agent notes, and an early

production of Jencks material.” Gov’t Opp’n, ECF No. 15 at 2.

Putting aside the discovery and reverse proffer sessions, the

indictment itself informs Mr. Saffarinia that the three alleged

false statements in the OGE Forms 278 were the matters that HUD,

OGE, and the FBI had jurisdiction to investigate. See

Indictment, ECF No. 1 at 18 ¶ 78. The Court therefore finds that

Mr. Saffarinia has sufficient information through discovery “to

permit [him] to conduct his own investigation” regarding any

additional information about the matters and investigations at

issue. Smith, 776 F.2d at 1111. 6


6 Mr. Saffarinia relies on United States v. Jackson, 926 F. Supp.
2d 691, 717 (E.D.N.C. 2013) for the proposition that an
indictment is deficient if it fails to identify the
investigation or matter that forms the basis of the obstruction
charges. See Def.’s Mem., ECF No. 14-1 at 8. Jackson is readily
distinguishable from this case. In that case, the court
                                   18
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 19 of 25



       C. The Indictment Sufficiently Apprises Mr. Saffarinia of
          the False Statement Counts

     Mr. Saffarinia’s other argument—that the government fails

to identify the legal duty and governing regulations underlying

Count I—is equally unavailing. See Def.’s Mem., ECF No. 14-1 at

9-10. A violation under 18 U.S.C. § 1001(a)(1) predicated on

concealment, as alleged in the indictment here, requires the

government to prove that the defendant had a legal duty to

disclose the concealed information. E.g., United States v.

Safavian, 528 F.3d 957, 964 (D.C. Cir. 2008) (“Concealment cases

in this circuit and others have found a duty to disclose

material facts on the basis of specific requirements for

disclosure of specific information.”); United States v. Calhoon,



dismissed two counts under 18 U.S.C. § 1512 and 18 U.S.C. §
1519, finding that “even considering the allegations in the
indictment as a whole, the government ha[d] failed to
sufficiently apprise [the defendants] of the [anticipated]
investigation and official proceeding they [were] alleged to
have obstructed.” Jackson, 926 F. Supp. 2d at 718. The court
found that the defendants were provided with “no details as to
the times and places of the [Alcohol, Tobacco, and Firearms]
inspection and investigation, and the nature of the matters
under inquiry.” Id. at 719. Unlike in Jackson, the government
here has provided Mr. Saffarinia with details—the FBI’s
investigative case file and the witnesses’ statements. Gov’t
Opp’n, ECF No. 15 at 2-3. Counts V through VII provide Mr.
Saffarinia with the OGE Forms 278 that he allegedly falsified,
the dates when he submitted them, and the agencies that reviewed
those forms. See Indictment, ECF No. 1 at 18 ¶ 78. In
considering the indictment as a whole, it is clear that the
matters and the agencies’ investigations at issue stemmed from
Mr. Saffarinia’s alleged failures to disclose all of his
payments and loans in the OGE Forms 278, forming the basis of
the obstruction allegations. See id. at 4-5 ¶ 13; 18 ¶¶ 77-78.
                                   19
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 20 of 25



97 F.3d 518, 526 (11th Cir. 1996) (“Falsity through concealment

exists where disclosure of the concealed information is required

by a statute, government regulation, or form.”).

     Mr. Saffarinia argues that “the government must prove that

[he] had a ‘duty to disclose material facts on the basis of

specific requirements for disclosure of specific information.’”

Def.’s Mem., ECF No. 14-1 at 9 (quoting Safavian, 528 F.3d at

964). The government does not dispute this statement of the law.

See Gov’t Opp’n, ECF No. 15 at 7-8; see also Def.’s Reply, ECF

No. 16 at 4. Rather, the government argues that a “plain reading

of the indictment” indicates that Mr. Saffarinia’s legal duty to

disclose his financial relationship with Person A arose from his

position as a high-ranking HUD-OIG official and as an SES

member. Gov’t Opp’n, ECF No. 15 at 7. The government points out

that Mr. Saffarinia’s legal duties to disclose derived from his

role as the Head of Contracting Activity. Id.; see also

Indictment, ECF No. 1 at 2-3 ¶ 5 (alleging that Mr. Saffarinia

had a “legal duty under governing regulations to disclose actual

and potential conflicts of interest and to not solicit and

accept anything of monetary value”).

     In Safavian, a jury found the defendant guilty of

concealing relevant information from: (1) an ethics officer in

the course of seeking an ethics opinion; and (2) the General

Services Administration in the course of that agency’s

                                   20
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 21 of 25



investigation. 528 F.3d at 962-63. Specifically, the defendant

had requested advice from the ethics officer, but the defendant

purportedly failed to provide all the information that would

have been relevant to the officer in rendering his opinion. Id.

at 964. The defendant also purportedly failed to provide

complete information to the agency’s investigator with whom he

voluntarily met. Id.

     On appeal, the D.C. Circuit reversed the defendant’s

convictions on the concealment counts, holding that the

government had failed to identify a duty to disclose. Id. at

965. With respect to the defendant’s failure to provide complete

information to the ethics officer, the D.C. Circuit noted that

it was not clear “how th[e] voluntary system” of seeking ethical

advice – which the defendant was ultimately free to follow or

disregard – “impose[d] a duty on those seeking ethical advise to

disclose . . . ‘all relevant information’ upon pain of

prosecution for violating § 1001(a)(1).” Id. at 964. Instead,

any duty to disclose must arise from “specific requirements for

disclosure of specific information” so that the defendant has

“fair notice . . . of what conduct is forbidden.” Id. (citation

omitted). The D.C. Circuit also rejected the government’s

argument that “once one begins speaking when seeking government

action or in response to questioning, one must disclose all

relevant facts.” Id. at 965. Noting that there was no

                                   21
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 22 of 25



“regulation or form or statute” that contained such a

requirement, the D.C. Circuit made clear that nothing in

“[section] 1001 demands that individuals choose between saying

everything and saying nothing.” Id.

      Mr. Saffarinia’s reliance on Safavian is misplaced. The

government in Safavian argued that the defendant’s duty to

disclose information was imposed upon him not by statute,

regulation, or government form, but by “standards of conduct for

government employees,” which provided fourteen “general

principles” of behavior. Id. at 964. The D.C. Circuit concluded

that those standards were “vague” and that the “ethical

principles” embodied in them did not impose a clear duty on an

executive employee to disclose information. Id. at 964–65. The

opposite is true here.

     As the indictment makes clear, Mr. Saffarinia’s duty to

disclose the required information in the OGE Forms 278 is not

the result of vague or general principles. See Indictment, ECF

No. 1 at 4 ¶ 11. Unlike in Safavian, this case involves a

statute, regulations, and a government form. The statute is the

Ethics in Government Act; the regulations are the OGE’s

regulations, 5 C.F.R. § 2634, et seq.; and the government form

is the OGE Form 278. See id. 7 HUD’s website provides that the


7 “The Court takes judicial notice of the official government
documents and other sources from [HUD’s] government website as
                                   22
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 23 of 25



Ethics in Government Act “requires senior officials in the

executive, legislative, and judicial branches to file public

reports of their finances and other interests outside the

Government.” Financial Disclosure Reports, HUD,

https://www.hud.gov/program offices/general counsel/Financial Di

sclosure Reports (last visited Oct. 7, 2019). It further

provides that certain HUD employees, including SES members, must

file the OGE Forms 278. Id. The OGE Form 278’s instructions

direct filers to the Ethics in Government Act and 5 C.F.R. §

2634 to determine what information must be disclosed. See OGE

Form 278 at 3 § V (“General Instructions”). This form expressly

provides that “Title I of the Ethics in Government Act of 1978,

as amended (the Act), 5 U.S.C. app. § 101 et seq., and 5 C.F.R.

Part 2634 of the [OGE] regulations require the reporting of this

information.” Id. at 11.

     Next, Mr. Saffarinia argues that the government fails to

identify the “governing regulations” in the indictment. Def.’s

Mem., ECF No. 14-1 at 10. To support his argument, Mr.

Saffarinia relies on United States v. Madeoy, 652 F. Supp. 371,



‘sources whose accuracy cannot reasonably be questioned.’”
Humane Soc’y of United States v. Animal & Plant Health
Inspection Serv., 386 F. Supp. 3d 34, 40 n.2 (D.D.C. 2019)
(quoting Fed. R. Evid. 201(b)(2)). The OGE Form 278, of which
the Court takes judicial notice, is publicly available on HUD’s
website. See OGE Form 278, Executive Branch Personnel Public
Financial Disclosure Report, HUD,
https://www.hud.gov/sites/documents/OGE_FORM_278_AUTOMATED.PDF.
                                   23
     Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 24 of 25



374 (D.D.C. 1987), but his reliance on that case is also

misplaced. In Madeoy, the defendants were charged with 121

counts, including conspiracy, racketeering, false statements,

and fraud. Id. at 374. The indictment referenced “more than 700

pages of the Code of Federal Regulations without specifying

which regulations [were] at issue.” Id. The court held that

“[t]here [was] no reason whatever why [those] laws and

regulations should not [have been] specified by way of a bill of

particulars—a specification which may well [have been] vital to

defendants’ abilities to answer [the] charges.” Id. Madeoy,

however, is factually distinguishable. The holding in that case

does not require a bill of particulars in every case where an

indictment does not provide a specific citation to a governing

regulation. Unlike in the present case, there is no indication

whether the government in Madeoy provided the defendants with

substantial discovery or whether the parties participated in

extensive reverse proffer sessions. See id. at 380 (granting

defendants’ motion for pretrial discovery).

     It is undisputed that the government has produced

voluminous discovery in this case. The indictment expressly

refers to Mr. Saffarinia’s positions as a high-level HUD-OIG

official and the Head of Contracting Activity, as well as his

SES membership, which all gave rise to his legal duty to

disclose the required information in the OGE Form 278. See

                                   24
      Case 1:19-cr-00216-EGS Document 23 Filed 10/10/19 Page 25 of 25



Indictment, ECF No. 1 at 2-3 ¶¶ 3-5. The OGE Form 278 itself

provides specific information about the reporting requirements.

See OGE Form 278 at 1 § I (“Scope of Disclosure”). Furthermore,

the indictment tracks the language of § 1001(a), and it provides

specific information about the three alleged false statements.

See Indictment, ECF No. 1 at 17 ¶¶ 74-76. The Court therefore

finds that the indictment provides Mr. Saffarinia with adequate

notice of the charges against him. See United States v.

Cisneros, 26 F. Supp. 2d 24, 50 (D.D.C. 1998) (denying motion

for bill of particulars where “[t]he lengthy [i]ndictment

include[d] not only a recitation of the statute but specific

information, including the times, places and activities which

constitute the unlawful activity”). 8

IV.   Conclusion

      For the reasons set forth above, the Court DENIES

Defendant’s Motion for Bill of Particulars. A separate Order

accompanies this Memorandum Opinion.

      SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           October 10, 2019

8 Having found that Mr. Saffarinia is not entitled to a bill of
particulars, the Court need not address the government’s
argument that Mr. Saffarinia’s motion seeks to “lock the
government in on its legal theory, well in advance of trial, and
obtain a road map or laundry list of the documents and evidence
the government intend to introduce at trial.” Gov’t Opp’n, ECF
No. 15 at 9.
                                    25
